     Case 2:15-cv-01572-APG-DJA Document 276 Filed 11/28/23 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA
 9
      VICTOR PEREZ, as Special Administrator of           CASE NO.: 2:15-cv-01572-APG-DJA
10    the Estate of CARLOS PEREZ, deceased;
      VICTOR PEREZ, as the Guardia Ad Litem for
11    S.E.P., a minor; VICTOR PEREZ, as the
      Guardian Ad Litem for A.I.P., a minor,
12                                                            STIPULATION AND ORDER FOR
                                   Plaintiffs,                 DISMISSAL WITH PREJUDICE
13    vs.
14    STATE OF NEVADA, ex.rel. NEVADA
      DEPARTMENT OF CORRECTIONS;
15    DIRECTOR GREG COX, individually;
      WARDEN DWIGHT NEVEN, individually;
16    ASSISTANT WARDEN TIMOTHY FILSON,
      individually; COT. RAMOS, individually;
17    LIEUTENANT OLIVER, individually;
      CORRECTIONS OFFICER CASTRO,
18    individually; CORRECTIONS OFFICER
      SMITH, individually; and DOES I-X, inclusive;
19    and ROES I-X, inclusive,
20                         Defendants.
              COMES NOW, Plaintiffs Victor Perez, as Special Administrator of the Estate of Carlos
21
      Perez, deceased, Victor Perez as Guardian Ad Litem for S.E.P. and A.I.P., by and through his
22
      counsel, Paola M. Armeni, Esq., and Gia N. Marina, Esq., of the law firm of Clark Hill, Defendant
23
      Raynaldo Ramos, by and through his counsel, Robert W. Freeman, Jr. Esq., of the law firm of
24
      Lewis Brisbois Bisgaard & Smith, LLP, Defendants, State of Nevada ex rel Nevada Department
25
      of Corrections, James Greg Cox, Timothy Filson, Dwight W. Neven and Ronald Oliver, by and
26
      through their counsel, Kiel Ireland, Esq. of the Attorney General’s Office, Defendant Isaiah Smith,
27
      by and through his counsel of record Jeffrey F. Barr, Esq. of the law firm of Ashcraft and Barr
28
      LLP, and Defendant Jeff Castro, by and through his counsel, Craig Anderson, Esq., of the law firm

                                                     1 of 2
      CLARKHILL\J2020\392971\274545569.v1-11/20/23
     Case 2:15-cv-01572-APG-DJA Document 276 Filed 11/28/23 Page 2 of 2


 1    of Marquis Aurbach, hereby agree and stipulate to the dismissal of Plaintiffs’ claims against

 2    Defendants with prejudice. The parties have met the conditions of settlement and each party will

 3    bear their own attorney’s fees and cost.

 4    APPROVED AS TO FORM AND CONTENT.

 5    Respectfully submitted this 27th day of November 2023.

 6     CLARK HILL, PLLC                                 LEWIS BRISBOIS BISGAARD &
       /s/ Paola M. Armeni, Esq.                        SMITH LLP
 7     PAOLA M. ARMENI                                  /s/ Robert W. Freeman, Jr., Esq.
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10     Las Vegas, Nevada 89135                          Attorneys for Defendant Raynaldo Ramos
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11     MARQUIS AURBACH                                  OFFICE OF THE ATTORNEY
       /s/ Craig R. Anderson, Esq.                      GENERAL
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       Craig R. Anderson, Esq.                          /s/ Kiel Ireland, Esq.
13     Nevada Bar No. 6882                              Kiel Ireland, Esq.
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       Attorneys for Defendant Jeffrey Castro           Carson City, NV 89701
15                                                      Attorneys for Defendants, State of Nevada,
       ASHCRAFT AND BARR                                Dwight W. Neven, James Greg Cox
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       /s/ Jeffrey F. Barr, Esq.                        Ronald Oliver, Timothy Filson
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       Las Vegas, NV 89123
19     Attorneys for Defendant Isaiah Smith
20
21

22                                                   ORDER

23     IT IS SO ORDERED:

24            DATED: November 28, 2023
25

26
                                                     ANDREW P. GORDON
27                                                   UNITED STATES DISTRICT JUDGE
28



                                                     2 of 2
      CLARKHILL\J2020\392971\274545569.v1-11/20/23
